Case 2:12-md-02323-AB Document 7364-7 Filed 03/27/17 Page 1of4

EXHIBIT E

Case 2:12-md-02323-AB Document 7364-7 Filed 03/27/17 Page 2 of 4
Case 2:12-md-02323-AB Document 6386 Filed 11/03/14 Page 1 of 3

’ a

Lance Zeno
7301 E 3rd Ave #210
Scottsdale, Az 85251

October 10, 2014

jaer
Clerk of the District Court/NFL Concussion Settlement tin Wt
U.S. District Court for the Eastern District of Pennsylvania ft i iy
United States Courthouse
601 Market Street {By |

Philadelphia, PA 19106-1797

RE: National Football League Players’ Concussion [njury Litigation, No, 2:12-md-02323;

Dear Judge Brody,

I am a retired NFL player that is included in the National Football League Players’ Concussion
Injury Litigation, No. 2:12-md-02323. I am writing you to state my objections to the proposed
settlement. My situation is unique and different because I am one of the eight living players that
has been diagnosed with CTE. Although the study is in the early stages I believe future research
will prove the validity of the study. A recent article regarding retired players found that 76 out of
79 deceased players are found to have degenerative brain disease. As a former offensive lineman
in the NFL it is estimated that 1 have sustained up to 10,000 sub-concussive hits. [ am also one
of the retired players involved in the original concussion study by Dr. Amen that showed

traumatic brain trauma.

Another reason why I am objecting to CTE not being included in the settlement is because of my
experience playing in the World Football League (WFL) which was owned and operated by the
NFL. In 1996 I was allocated by the St Louis Rams to play in the WFL during the NFL off
season. [ signed a new contract with the St. Louis Rams who immediately requested | play in the
World Football League. During my time in the WFL I was not properly fitted for a helmet due to
the limited budget that restricted amount of equipment each team was allocated. For the first
several weeks of the season I was forced to play using a helmet that did not properly fit. [
sustained multiply concussions during that time. The NFL and the St. Louis Rams were
negligent in allowing this risk to continue for multiple weeks. [ sustained multiple sub-
concussive hits during the time I was recovering from the initial concussion. The NFL and the
St. Louis Rams were also negligent in allowing me to be the only offensive center on the team
during this time. I took every play in practice and games which is unheard of in professional
Case 2:12-md-02323-AB Document 7364-7 Filed 03/27/17 Page 3 of 4
Case 2:12-md-02323-AB Document 6386 Filed 11/03/14 Page 2 of 3

football. The team did.not sign another offensive center until several weeks into the season.
There is significant proof to suggest that | suffered Second-impact syndrome (SIS) which occurs
when the brain swells rapidly after a person suffers a second concussion before the symptoms
from an earlier one has subsided.

Another objection I have to the settlement is the lack of inclusion of the WEL in terms of years
played. We do not get credit for years played in the WFL even though I was under contract and
allocated by the St. Louis Rams. | played another previous year in the WFL without begin
allocated. The two seasons in the WFL are not considered in the settlement which deducts any
settlement I may receive in the future by 60 percent.

My grandfather played for the 1942 World Champion Washington Redskins and was one of the
players who made the NFL what it is today. I watched his health deteriorate due to Parkinson’s
disease. I think about my future and the challenges I will have. I hope there is help for me, all
the retired players and their families when we get older. 1 appreciate all you are doing to help the
former players. I know the commitment you have made to do what is in the best interest of the

NFL and the retired players.

Respectfully,
| ~\
~~ Ha oe

nae
Cod Cc)
Ranc¢ Zeno

Lance Zeno

7301 E 3rd Ave #210
Scottsdale, AZ 85251
714-457-6363

DOB: 4-15-67
Case 2:12-md-02323-AB Document 7364-7 Filed 03/27/17 Page 4 of 4

1/03/14 Page 3 of 3

1
a

Case 2:12-md-02323-AB Documeni 6386 Filed

oF,

)

wie oD
on0)
: IH 22s 1eT04 ‘hon ecog Taga | ede ETOe
i SSS GSA
i
i nies
a. oe i t
Vy wuovetri ager (ERR.
Tenet wl fis aoe apg i be PAS die ed, ups

2L ams
4 YY \ Lo by
FT (A yy
Leo yr Os] tL i
